                       Case 2:22-mj-01701-VRG Document 1 Filed 07/22/22 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01701(1)
                                                            §
(1) Enrique Lopez-Hernandez                                 §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about July 19, 2022 in Terrell county, in the WESTERN DISTRICT OF

TEXAS defendant(s) did, Enrique LOPEZ-Hernandez, an alien, entered, or was found in the United States at

or near Sanderson, Texas, after having been denied admission, excluded, deported, or removed from the

United States through San Ysidro, Ca on 09/11/2021, and not having obtained the express consent of the

Secretary of the Department of Homeland Security or the Attorney General of the United States to reapply for

admission thereto. Defendant being voluntarily in the United States unlawfully , a felony,



in violation of Title             8            United States Code, Section(s)     1326(a)(1)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "Enrique LOPEZ-Hernandez, an alien, entered, or was found in the United States at or near

Sanderson, Texas, after having been denied admission, excluded, deported, or removed from

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Melton, Lance T.
                                                                           Border Patrol Agent

07/22/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
            Case 2:22-mj-01701-VRG Document 1 Filed 07/22/22 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT

                               WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                             Case Number: DR:22-M -01701(1)

         (1) Enrique Lopez-Hernandez

Continuation of Statement of Facts:

the United States through San Ysidro, Ca on 09/11/2021, and not having obtained the express consent of the
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______________________________
Signature of Judicial Officer                                  Signature of Complainant
